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For=t THE wEsTERN DlsTFtlcT or= TENNEssEE _ _
WEsTERN DlvlsloN 05 JUN 3 PH li- 2|

 

aoeaa:' $z. r.‘: Taouo
cLEnr`-;.mu.s. oi;-;T. CT.
UNITED STATES OF Al\/lEFilCA, W'U’ w m MW'MS
Plaintiff,
VS.
CR. NO.-04-2040¥~B § go
W|LLlA|Vl HOLLAND, O)// 3
Defendant.

 

ORDEF{ ON CONTlNUANCE AND SPEC|FY|NG PEFi|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 31, 2005. At that time, counsel for
the defendant requested a continuance of the June 6, 2005 trial date in order to allow for
disposition of pending motions.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Mondav. Ju|v 25l 2005, at 9:30 a.m., in Courtroom 1. 11th Floor of the
Federa| Building, l\/lemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T lS SO ORDEFiED this day_Of June, 2005.

 

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UNITED `SETATS DISTRIC COUR - W"'RNTE D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 340 in
case 2:02-CR-20356 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

